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                                     CAUSE NO. 2017C123341

CHRIS WARD, INDIVIDUALLY AND                            iN TilE DISTRICT COURT
AS   REPRESENTATIVE OF THE
ESTATES    OF     JOANN    WARD,
DECEASED AND B.W., DECEASED
MINOR, AND AS NEXT FRIEND OF
        A      MINOR;    ROBERT                                   5A- -C\J
LOOKINGBILL;       AND     DALIA
LOOKINGBILL, INDIVIDUALLY AND
AS NEXT FRIEND OF R.G., A MINOR,,
AND AS REPRESENTATiVES OF THE
ESTATE OF E.G., DECEASED MINOR;

                       Plaintiffs,


V.                                                     BEXAR COUNTY, TEXAS

ACADEMY, LTD. DIB/A ACADEMY
SPORTS + OUTDOORS

                       Defendant.                      224TH JUDICIAL DISTRICT


     AGREED PROTECTIVE ORDER AND CONFIDENTIALITY AGREEMENT


        Plaintiffs Chris Ward, individually and as representative of the Estates of Joam Ward,

Deceased and B.W, Deceased Minor, and as Next Friend Of F.W., A Minor; Robert Loolcingbill;

and Dalia Lookingbill, individually and as Next Friend Of R.G., A Minor, and as Representatives

of The Estate Of E.G., Deceased Minor ("Plaintiffs") and Defendant Academy, Ltd. d/b/a

Academy Sports + Outdoors ("Academy") (collectively the "Parties"), hereby stipulate and

request that the Court order as follows:

       Basis and FindirnEs.

       During the course of pretrial discovery, the Parties have served or will serve discovery

that could entail disclosure of information, documents, and other materials which the producing or

disclosing party reasonably believes in good faith to comprise or contain confidential or sensitive

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information ("Confidential Jnfonnation").

         To avoid any potentially harmful disclosure of Confidential Information and in order to

facilitate discovery and other pretrial proceedings in this action without the necessity of repeated

motions and hearings before this Court, the Court finds that discovery and discloure of

Confidential Information should proceed only upon the terms and conditions set forth in this

Order.

NOW, THEREFORE, ITIS HEREBY ORDERED that:

         1.     Aunlicabiity.

         This Order shall apply to all information and materials produced or acquired during this

action concerning and including Confidential InfOrmation as defifled herein.        This includes all

Confidential Information produced or disclosed through discovery, trial, or any other pretrial

proceeding in this action by (i) Plaintiffs or Defendant, or (ii) any person, entity, or witness not a

party to this Order ("non-party") which is designated "CONFIDENTIAL."

         2.     ConfIdential Infonnation.

         Information, documents, and things designated as "CONFIDENTIAL" and reasonably

considered in good faith by a party to contain either: (a) non-public, proprietary, or confidential

financial or business information; (b) non-public, proprietary, or confidential sales and customer

information; (c) non-public, proprietary, or confidential corporate and strategic planning

information; or (d) the identity of Academy personnel disclosed as persons with knowledge or

designated as potential witnesses.

         The Parties agree not to designate information as "CONFIDENTIAL" for the purpose of

harassing the receiving party or for the purpose of unnecessarily restricting the receiving party's

access to information concerning the lawsuit. Information, docunnts, and things designated as


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"CONFIDENTIAL," and the information contained therein, shall be hereinafter referred to

collectively as "Confidential Information."

       3.      Method of Designation.

       Each page of all documents that the producing party asserts contains Confidential

Information shall be cieariy marked as either "CONFIDENTIAL."

       All documents produced by any party, non-party, or witness for inspection or copying

shall be treated as Confidential Information if marked as either "CONFIDENTIAL" as provided

above within twenty-one (21) days of production.         Documents that are to be designated as

Confidential Information should be clearly marked on each page, where appropriate, by the

producing party, non-party, or witness.

       Testimony may be designated as Confidential Information in whole or in part. Counsel

shall designate such testimony as Confidential Information within twenty-one (21) days of receipt

of any transcript, in which case the front/cover page and each page of the portion of any transcript

coataining such testimony shall be clearly marked, and all transcripts so identified shall be

maintained separately, subject to the provisions of this Order.

       4.      Limited Use and Disclosure of Infonnation Marked "CONFIDENTIAL."

       Any and all information, documents, and materials covered by this Agreed Protective

Order which are designated as "CONFIDENTIAL" by the producing party, and the information

contained therein, shall be used solely for the prosecution of the instant action and for no other

purpose, and shall not be published or disclosed, directly or indirectly, and shall not be delivered,

or their existence made known or exhibited to any persons, except in accordance with the

provisions of this Order. Nothing in this Agreed Protective Order shall preclude either party from

using its own records and documents in the normal course of its business.


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       No information designated "CONFIDENTIAL" subject to this Agreed Protective Order or

copies of such protected material or information, extracts, or summaries therefrom shall be

disclosed, given, or shown to any person, except the following:

                a.     Outside attorneys for any party engaged in connection with the litigation of
                       tins action and the employees and contractors of such attorneys,

               b.      Employees of a party actively engaged in assisting that party's attorney in
                       the conduct of this htigation to the extent reasonably necessary to enable
                       the attorneys for that party to render professional services in the litigation;

               c.      Persons who are not employees of any party but who are expressly retained
                       to assist a party's counsel ("Retaining Counsel") in the preparation of this
                       action for hearing or trial, including, but not limited to, consulting and
                       testifying experts, independent auditors, accountants, statisticians,
                       economists, and other experts ("Outside Experts"), and the employees of
                       such Outside Experts, after such Outside Expert (and the employees of
                       such Outside Expert, where applicable) has signed and delivered to
                       Retaining Counsel a statement in the form annexed hereto as Exhibit A. A
                       copy of Exhibit A must be maintained by Retaining Counsel after its
                       execution;

                d.     Individual parties to the litigation;

                e.     This Court, other court officials (including court reporters), and the trier of
                       fact.

       No other person shall have access to information designated "CONFJL1)ENTIAL" without

Court approval or the written agreement of the Parties to this Agreed Protective Order, except as

outlined below. No person shall use any information designated "CONFIDENTIAL" for any

purpose, except as needed solely in connection with or to assist in the prosecution or defense of

claims in this case.

       5.       Use of Confideritial Information in Pleadings Motion& Briefs or Other Court
                Filhi2s.

        Prior to trial, Confidential Information shall not be routinely filed with the Court, and will

only be filed where the filing party has a good faith belief that there is a need to file such material


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at that time in order to prosecute or defend this litigation. In the event any party files with the

Court any pleading, motion, brief, exhibit, or other paper that contains Confidential Information

or contains excerpts or information revealing such Confidential Infonnation, said pleading,

motion, brief, etc. shall initially be filed with the Court in camera, or in such other manner, if any,

as may be allowed by the Court to accomplish this purpose. Concurrent with or up to fifteen (15)

business days from any such filing, any party to this litigation shall have the right to move the

Court pursuant to Texas Rule of Civil Procedure 76a to seal the record with respect to some or

all such documents.        If no party ifies such a motion to seal, the information shall be filed in the

public record.

       6.          Responsibility for Unauthorized Use or Disclosure.

       Any counsel disclosing Confidential Information of another party or non-party to anyone

qualified under this Agreed Protective Order shall have the duty to reasonably ensure that such

person is given a copy of this Order, but in no event shall counsel be personally responsible for

anyone else's breach or failure to observe the terms of this Order.

       The disclosure of a party's own "Confidential Information" to a person identified in

Paragraph     4   (a-e) shall not   be deemed a waiver of   or   disclosure   of Confidential Information by


such party.


       If any party believes that any material which has been designated as "CONFIDENTIAL" is

not properly subject to the confidentiality provisions of this Order, that party may so notify the

producing party in writing and provide a description of the material which the objecting party

believes should be freed from the constraints of this Order, and serve copies of such notice to all

other Parties herein In the case of documents, the objecting party shall identify the document by

the document identification number of each document, if the producing party so numbered the


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documents. The Parties must then confer and attempt to resolve the issue.         LI they are   unable to

resolve the issue, the party producing such designated Confidential Information must then tile a

motion for protective order within ten (10) days from receipt of such notice, and set the motion

for hearing or submission and shall bear the burden of justifying confidential treatment of the

disputed Confidential Information under applicable law.        If such a motion is timely tiled, the

protection afforded by this Order shall continue until a decision on. the motion is made by this

Court. If no motion is made within the 10-day period, the protection afforded the Confidential.

Information by this Order shall terminate as to the Confidential Information described in or

attached to the objecting party's notice given pursuant to this paragraph.

        IT IS FIJRTHER ORDERED that this Agreed Protective Order shall apply                to. copies,

duplicates, notes, 'memoranda, and any other documents that refer, in whole or in part, to the

Confidential Information covered by this Agreed Protective Order.

       IT IS FURTHER ORDERED that nothing contained in this Order shall preclude the use

of Confidential Information at trial or at depositions. If such Confidential Information is used in

such depositions, such Confidential Information and all portions of the transcripts of such

depositions and exhibits thereto that refer or relate to such information shall be treated as

"CONFIDENTIAL."

       iT IS FURTHER ORDERED that within thirty (30) days of final termination of the

instant action, all Confidential Information,, and copies thereof, shall be returned to the counsel for

the party that originally produced them or shall be certified to have been destroyed.

       SIGNED ANI) ENTERED this




                                               PRESiDiNG JUDGE

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Agreed to Substance:

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